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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                            4:08CR00317-001 SWW

CRAIG A. HAGERTY



                                               ORDER

       The defendant, Craig A. Hagerty, is presently undergoing a mental health evaluation at the

Federal Detention Center, Englewood, Colorado, having arrived on May 27, 2009. The Court has

received communication from that facility requesting additional time to complete the evaluation

because of the delay in transporting the defendant to the facility.

       IT IS THEREFORE ORDERED that the letter request of the Bureau of Prisons be filed as

a motion and GRANTED. The time the defendant, Craig A. Hagerty, be allowed to remain at the

Federal Detention Center is hereby extended for an additional period of time not to exceed July 13,

2009, with the report being filed with the Court by July 27, 2009.

       Dated this 25th day of June 2009.



                                                      /s/Susan Webber Wright

                                                      UNITED STATES DISTRICT JUDGE
